            Case 3:14-cr-05159-BHS          Document 84      Filed 08/28/14    Page 1 of 3




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 5                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
 6                                      AT TACOMA

 7
        UNITED STATES OF AMERICA,
 8
                                                         CASE NO. CR14-5159BHS
                              Plaintiff,
 9                                                       ORDER
                 v.
10
        CARLOS VALDOVINOS-DIAZ,
11      ALEJANDRO ESTRADA-PEREZ,
        ROGELIO ANAYA-REYES, a/k/a
        “Sebastian Aranbula Goiri”,
12      ALFREDO VALDOVINOS-DIAZ,
        ISIDRO BENITEZ-CASTILLO,
13      OSCAR RODRIGUEZ-RODRIGUEZ,
        FABIAN VALDOVINOS-PEREZ and
14      GERONIMO VALTIERRA-LOPEZ,

15                            Defendants.

16          This matter comes before the Court on the government’s and Defendants CARLOS

17 VALDOVINOS-DIAZ, ALEJANDRO ESTRADA-PEREZ, ISIDRO BENITEZ-CASTILLO,

18 FABIAN VALDOVINOS-PEREZ, ALFREDO VALDOVINOS-DIAZ and GERONIMO

19 VALTIERRA-LOPEZ’ stipulated motion for an order continuing the pretrial motions due date

20 and trial date. The Court, having considered the motion, the Defendants’ speedy trial waivers,

21 and having heard no objections to the motion, makes the following findings of fact and
     conclusions of law:
22


     ORDER - 1
             Case 3:14-cr-05159-BHS           Document 84        Filed 08/28/14      Page 2 of 3




 1          1. The parties agree that defense counsel require more time to go over discovery

 2 provided by the government, which includes 14 disks, 350 phone calls and over 525 text

 3 messages, most of which are in Spanish and have not yet been translated. Translating and
     analyzing these communications will require a significant amount of time.
 4
            2. The defense needs additional time to explore all relevant issues and defenses
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     applicable to the case, which would make it unreasonable to expect adequate preparation for
 6
     pretrial proceedings or for trial itself within the time limits established by the Speedy Trial Act
 7
     and currently set for this case. 18 U.S.C. § 3161(h)(7)(B)(ii).
 8
            3. Taking into account the exercise of due diligence, a continuance is necessary to allow
 9
     the defendant the reasonable time for effective preparation his defense, to explore resolution of
10 this case before trial and to substantially ensure continuity of defense counsel. 18 U.S.C. §

11 3161(h)(7)(B)(iv).

12          4. Proceeding to trial absent adequate time for the defense to prepare would result in a

13 miscarriage of justice. 18 U.S.C. §3161(h)(7)(B)(i).

14          5. The ends of justice served by granting this continuance outweigh the best interests of

15 the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A) and (B).
            6. Carlos Valdovinos-Diaz waived speedy trial through March 15, 2015; Alejandro
16
     Estrada-Perez waived speedy trial through February 28, 2015; Alfredo Valdovinos-Diaz waived
17
     speedy trial through March 15, 2015; Isidro Benitez-Castillo waived speedy trial through March
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     30, 2015; Fabian Valdovinos-Perez waived speedy trial through March 30, 2015; Geronimo
19
     Valtierra-Lopez waived speedy trial through March 30, 2015.
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     ORDER - 2
            Case 3:14-cr-05159-BHS          Document 84        Filed 08/28/14     Page 3 of 3




 1          NOW, THEREFORE, IT IS HEREBY ORDERED

 2          That the trial date is continued from September 16, 2014, to February 17, 2015, at 9:00

 3 a.m. Pretrial Conference is set for February 9, 2015, at 1:30 p.m. Pretrial motions are due by
     January 2, 2015. The resulting period of delay from July 31, 2014, to February 17, 2015, is
 4
     hereby excluded for speedy trial purposes under 18 U.S.C. § 3161(h)(7)(A) and (B)
 5
            Dated this 28th day of August, 2014.
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                                                   A
                                                   BENJAMIN H. SETTLE
                                                   United States District Judge
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     ORDER - 3
